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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA                     )
ex rel. STEPHEN BISHOP,                      )
                                             )
               Plaintiff/Relator,            )         NO. 1:13-cv-1453 (AJT/JFA)
                                             )
                                             )
                      v.                     )
                                             )
LEVEL 3 COMMUNICATIONS, INC.                 )
et al.                                       )
                                             )
Defendants.                                  )

            JOINT STIPULATION OF DISMISSAL OF CLAIMS AGAINST LEVEL 3
                             COMMUNICATIONS, INC.

       Pursuant to Federal Rule of Civil Procedure 41(a), the United States, having intervened in

part for purposes of settlement in this qui tam brought pursuant to the False Claims Act, 31

U.S.C. §§ 3729-3733 (“FCA”), and Relator Stephen Bishop (“Relator”), hereby notify the Court

of the voluntary dismissal of all claims against Level 3 Communications, Inc. (“Level 3”) in this

action, with the exception of Relator’s claim for attorney’s fees and costs under 31 U.S.C. §

3730(d)(1), as set forth below:

       1.      The Relator dismisses with prejudice all claims alleged in his Complaint as to

himself and against Level 3.

       2.      The United States dismisses with prejudice all claims against Level 3 that are

“Covered Conduct” under the Settlement Agreement, and without prejudice all other claims

against Level 3 alleged in the Complaint.




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       3.      Except as provided in the Settlement Agreement and Relator’s claim for

attorney’s fees and costs pursuant to 31 U.S.C. § 3730(d)(1), the parties will bear their respective

costs, including any possible attorneys’ fees or other expenses of litigation.

       4.      No Defendants have filed an answer or responsive pleading to the Complaint.

       5.      Pursuant to the Settlement and Kokkonen v. Guardian Life Insurance Co. of

America, 511 U.S. 375 (1994), the Court shall retain jurisdiction to enforce the terms of the

Settlement Agreement.

Dated: June 2, 2021


                                              RAJ PAREKH
                                              ACTING UNITED STATES ATTORNEY
                                      By:
                                              /s/
                                              Krista Anderson
                                              Assistant United States Attorney
                                              United States Attorney’s Office
                                              Counsel for the United States
                                              2100 Jamieson Avenue
                                              Alexandria, Virginia 22314
                                              Tel: (703) 299-3995
                                              Fax: (703) 299-3983
                                              E-mail: krista.anderson@usdoj.gov



                                              /s/
                                              Zachary A. Kitts
                                              Attorney for Plaintiff/Relator Stephen Bishop
                                              3554 Chain Bridge Road
                                              Suite 100
                                              Fairfax, Virginia 22030
                                              Tel: (703) 649-5500
                                              zkitts@kglawpllc.com




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   IT IS HEREBY SO ORDERED this ___ day of ______________, 2021.


                                     _______________________________
                                     UNITED STATES DISTRICT JUDGE




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